
7 N.Y.2d 958 (1960)
William Kriger et al., Respondents,
v.
Industrial Rehabilitation Corporation et al., Defendants, and Joseph P. Day, Inc., et al., Appellants.
Court of Appeals of the State of New York.
Argued January 19, 1960.
Decided February 25, 1960.
Edward Abbe Niles for Joseph P. Day, Inc., appellant.
Harold R. Tyler, Jr., and Daniel Mandel for General Electric Company, appellant.
Joseph Delman and Victor Whitehorn for respondents.
Concur: Chief Judge DESMOND and Judges DYE, FULD, FROESSEL, VAN VOORHIS, BURKE and FOSTER.
Order affirmed, with costs. All questions certified answered in the affirmative. No opinion.
